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                                                                       US-D.C . Atlanta

                                                                             JUN 19 2009
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NOR TH E RN DI ST RICT OF GEORGI
                            ATLANTA DI VI S IO N


CHONG AE HAN,

         Pla intiff,

V   S.                                               i 09-r.v-1641
                                              C IVIL ACTION NO.
MORTGAGE LENDERS
NETWORK USA, I NC. ;
GMAC MORTGAGE, LLC ;
AMERICA'S SERVICING
COMPANY ; WELLS FA RGO
BANK, N .A .; MOR TGAGE
ELECTRO N IC REGISTRATION
SYSTEMS, INC ., a n d DOES 1-50,
inclusive,

            Defenda n ts.


                              NOTICE OF REMOVAL

         Pursuant to 28 U .S .C . §§ 1331, 1367, 1441 and 1446, Defendants GMAC

Mortgage, LLC ("GMACM") and Mortgage Electronic Registration Systems, Inc .

("MFRS") (collectively "Removing Defendants") hereby remove this case from

the Superior Court of Georgia, Gwinnett County, to the United States District

Court for the Northern District of Georgia, Atlanta Division, and respectfully state

as follows :



NOTIC E OF REMOVAL                                                               PAGE I
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                             STATEMENT OF THE CASE

            1 . On May 12, 2009, an action was commenced in the Superior Court of

Georgia, Fulton County, entitled Chong Ae Han v . Mortgage Lenders Network

USA, Inc., et al, Case No . 09A-04320-10 (the "State Court Action") . True and

accurate copies of the summons and complaint in the State Court Action (the

"Complaint") are attached hereto as "Exhibit A ."

            2 . GMACM was served with a copy of the Complaint on May 27, 2009 .

MERS was served with a copy of the Complaint on May 22, 2009 . This Notice of

Removal is being filed within 30 days of receipt of the Complaint . Removal is

therefore timely in accordance with 28 U .S .C . § 1446(b).

            3 . The Complaint purports to assert eleven causes of action, identified

and/or generally alleged as follows : (1) violation of the Georgia Uniform

Deceptive Trade Practices Act, (2) violation of the Georgia Residential Mortgage

Act, (3) breach of imputed duty per Georgia Fair Business Practices Act, (4) fraud,

(5) fraud in the inducement, (6) conversion, (7) quiet title, (8) libel, (9) civil

conspiracy, (10) violation of Georgia Racketeer Influenced and Corrupt

Organizations Act ("Georgia RICO"), and ( 1 1) petition for interlocutory injunctive

re li ef.




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                        FEDERAL QUESTION J U RIS DICTION

        4 . This Court has jurisdiction over this matter under 28 U .S .C . § 1331

because Plaintiff's claims arise under the laws of the United States . The Supreme

Court has held that "a case `arose under' federal law where the vindication of a

right under state law necessarily turned on some construction of federal law .

Franchise Tax Bd. V. Construction Laborers Vacation Trust, 436 U .S . 1, 9 (1983) .

Further, as the Eleventh Circuit has recognized, federal question jurisdiction arises

where a party has asserted an action under Georgia RICO and the underlying

violations involved federal mail fraud . Ayres v, General Motors Corp ., 234 F .3d

514, 517-1 8 (11th Cir . 2000) .

        5 . Here, Plaintiff has alleged federal mail fraud as part of the alleged

RICO scheme. See Exhibit A, ¶ 110 . Accordingly the resolution of this matter

turns upon federal questions, and this Court has jurisdiction .

        6. Pursuant to 28 U .S .C . § 1367(a), this Court has supplemental

jurisdiction over the state law and common law claims asserted by Plaintiff

because those claims asserted form part of the same case or controversy .

        7 . Defendants GMACM and MERS have consented to the removal of

this action .




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      8 . Upon information and belief, no other defendants have been served in

this action, as no return of service has been filed with the Superior Court of

Georgia, Gwinnett County as of June 18, 2009, or are nominal or unknown

defendants, and therefore, additional consent to this removal is not required . See

Tri-Cities Newspapers, Inc . v. Tri-Cities P. P. & A Local 349, 427 F.2d 325, 326-27

(5th Cir. 1970); Salveson v . Western States Bankcard Ass'n ., 731 F .2d 1423, 1429

(9th Cir . 1984) . Accordingly, all properly served and joined defendants, excluding

nominal, unknown and fraudulent joined parties, have consented to this Notice of

Removal .

       9. Venue is proper in this Court pursuant to 28 U .S .C . § 1441(a) because

the United States District Court for the Northern District of Georgia, Atlanta

Division, is the federal judicial district and division embracing the Superior Court

of Georgia, Gwinnett County, where the State Court Action was originally filed .

       10 . Pursuant to 28 U .S .C . § 1446(a), a true and correct copy of all the

process, pleadings, and orders on file in the State Court Action or served on the

Removing Defendants are attached collectively hereto as "Exhibit B ."

                                  CONCLUSION

       WHEREFORE, Defendants GMACM and MERS hereby remove this Action

from the Superior Court of Georgia, Gwinnett County to the United States District



NOTICE OF RE MOVAL                                                             PAC. F 4
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Court for the Northern District of Georgia, Atlanta Division . By this Notice of

Removal and the associated attachments, Removing Defendants do not waive any

objections they may have as to service, jurisdiction or venue, or any other defenses

or objections they may have to this action . Removing Defendants intend no

admission of fact, law or liability by this Notice, and expressly reserve all

defenses, motions and/or pleas . Removing Defendants pray that the State Court

Action be removed to this Court, that all further proceedings in the State Court

Action be stayed, and that Removing Defendants receive all additional relief to

which they are entitled .

      This the 19th day of June, 2009 .

                                   Respectfully submitted,




                                        ~lPaulT . Kim ~
                                                      . 418841
                                                          .-GeorgiaBN
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                                   (404)-870-4678 - telephone
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                                   Attorneys for Defendants GMAC MORTGAGE,
                                   LLC and MORTGAGE ELECTRONIC
                                   REGISTRATION SYSTEMS, INC .



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                           CE RT IFI CATE O F COMPLIANCE

         The undersigned counsel hereby certifies that this Notice of Removal was

prepared using Time New Roman 14 point, in accordance with L .R . 5 . I (B) .




                                          . Kim (,PaulT
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                                    LLCand MORTGAGE ELECTRONIC
                                    REGISTRATION SYSTEMS, INC .




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                IN THE SUPERIOR COURT O F GVk'DVI~'ETT COUNTY-" ' " "' ~ ` " r"
                                                   GEORGIA 2009 MAY -8 PH 2: 17
                                      STATE OF
                                                                              rnM t aEVi FP . CLE RK
  CHONG AE RAN,
                                                 }
                         Plaintiff.
                                                       Civil Action No :
         .'s_
                                                                                                             v~
                                                                                                             co
  MORTGAGE LENDERS
                                                                                                             co ~
  NETWORK USA, INC ..;
                                                                                                             o
                                                                                                             ~- .
  GMAC MORTGAGE, LLC;                                                                                        .A ...
  AMERICA'S SERVICING CONTANY;                                                                                ~
                                                                                                             CX)
                                                                                                             o~
  WELLS FARGO BANK, N.A_>
                                                             s"tYax X Mcn,AHr0 - f Cnli
  MORTGAGE ELECTRONIC
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                                                                  '$ JfJ DIG7Ai. CIRCUIT Fl,
  REGISTRATION SYSTEMS, INC .; and                                       12100      -7       pRIDA
                                                           IMATTS
  DOES 1-50, inclusive                                                                        t
                                                           ~

                         Defendants,




                                      COMPLAINT

         Plaintiff, CHONG AE HAN, (herein known as "Plaintiff"), by and through his

  attorney, hereby files this complaint against Defendants MORTGAGE LENDERS

  NETWORK USA, INC . ; GMAC MORTGAGE, LLC, flk/a/ GMAC Mortgage

  Corporation ; AMERICA'S SERVICING COMPANY ; WELLS FARGO BANK, N .A .,

  dlbla America's Servicing Company; MORTGAGE ELECTRONIC REGISTRATION

  SYSTEMS, INC . ; and DOES 1 through 50, inclusive, (hereinafter collectively known as

  "defendants"') alleging and showing the Court the following :




                                               1




                       COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF



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                                                                                                 r



                                                PARTIES

1 . Plaintiff currently owns property located at 9 5 5 White Birch Way, Lawrenceville,

     Georgia, Gwinnett County (hereinafter "Subject Property") .

2. Upon information and belief, Defendant, MORTGAGE LENDERS NETWORK

     USA, INC. at all times mentioned herein regularly conducts business in and throughout

     the State of Georgia.

3 . Upon information and belief, Defendant, GMAC MORTGAGE, LLC, f/k/a

     GMAC Mortgage Corporation at all times mentioned herein regularly conducts business

     in and throughout the State of Georgia .

4. Upon information and belief, Defendant, ANERICA' S SERVICING COMPANY

     at all times mentioned herein regularly conducts business in and throughout the State of

     Georgia.

5. Upon information and belief, Defendant, WELLS FARGO BANK, N.A., d/b/a

     America's Servicing Company at all times mentioned herein regularly conducts business

     in and throughout the State of Georgia .

6.          Upon information and belief, MORTGAGE ELCTRONIC REGISTRATION

     SYSTEMS (hereinafter referred to as "MERS") at a!1 times mentioned herein regularly

     conducts business in and throughout the State of Georgia.

7. Plaintiff is ignorant of the true names and capacities of defendants sued as DOES

     1-50, inclusive, and therefore sues these defendants by such fictitious names . Plaintiff

     will amend this Complaint to al lege their true names and capacities when ascertained .

                                                  2




                          COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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 8 . Plaintiff is informed and believes, and based on information and belief, alleges

       that at all times mentioned in this complaint defendants were agents, servants, partners ~

       and/or employees of co-defendants, and in doing the actions mentioned below were,

       unless otherwise alleged, within the course and scope of their authority as such agent,

       servant, partner, and/or employee with the permission and consent of co-defendants .

 9 . Any allegations about acts of any corporate or other business defendant means

       that the corporation or other business did the acts alleged through its officers, directors, ~

       employees, agents and/or representatives while they were acting Aithin the actual or

       ostensible scope of their authority and/or within the scope of their agency if acting as an

       agent of another .

10 .           Plaintiff believes and is informed and, on that basis, alleges that each of the said

       defendants, including the DOE defendants, were in some manner legally responsible for

       the unlawful actions, unlawful policies ; and unlawful practices, complained of herein .

       each defendant committed the acts alleged in this Complaint .

11 . Additionally, each defendant knew or realized that the other defendants were '

       engaging in or planned to engage in the violations of law alleged in this Complaint.

       Knowing or realizing the other defendants were engaging or planning to engage in

       unlawful conduct, each defendant nevertheless facilitated and even directed or assisted in

       the commission of the unlawful acts . Each defendant intended and did encourage,

       facilitate, or assist in the commission of the unlawful acts, and thereby aided and abetted

   the other defendants in the unlawful conduct . Plaintiff will amend this Complaint to set



                                                    3




                            COMPLAINT FOR DAMAGES AN D EQUITABLE RELIEF
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  forth the true names and capacities of said Defendants ; along with the appropriate

  charging allegations when the same have been ascertained .

12. At all relevant times, defendants have engaged in a conspiracy, common

  enterprise, and common course of conduct, the purpose of which is and was to engage in ~

  violations of law alleged in this Complaint This conspiracy, common enterprise, and
                                                                                                  i
  common course of conduct continue to the present .

1~. Whenever reference is made in this Complaint to any act of any defendant(s), that ~

  allegation shall mean that each defendant acted individually and jointly with the other

  defendants .

K Venue and jurisdiction is proper in this court because injury and damage to

  Plaintiff occurred in its jurisdictional area, the property is located in this jurisdictional

  area and the unlawful practices were committed in this jurisdictional area .




                                  GENERAL ALLEGATIONS

15. This action is brought against Defendants, who unlawfully committed deceptive

  and unfair business practices, fraud, fraud in the inducement, conversion, cloud on title,

  and defamation, warranting remedies and judgment at law for damages as well as

  equitable injunctive relief .

16 . Defendants are mortgage lenders, sen,icers and/or trustees . Defendants'

  residential lending business model consists of making as many residential loans and/or

  loans made to borrowers with limited or impaired credit .



                                                4




                        COMPLAINT FOR DAMACzES AND EQUITABLE RELIEF
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17 .           Defendants did business as wholesale lenders . That i s, mortgage brokers, under

       contracts with Defendants and working, closely with defendants' sales representatives,

       originated loans which were underwritten by defendants .

18 . Defendants sold a majority of their residential loans to the secondary market, that

       is, third-party investors or qualifying special-purpose entities that issue interest-bearing

       securities representing the loans' interest stream . After selling the loans for securitization

       or to third-party investors, defendants typically were required to repurchase those loans

       only in limited circumstances ; for instance, in the event of documentation errors,

       underwriting errors, fraud, or early payment defaults .

19 .           While Defendants claimed to maintainn underwriting guidelines that assessed the

       ability of the Plaintiff to repay debt, they purposefully relaxed their underwriting

       guidelines and sold a risky loan product to Plaintiff to increase their loan origination

       volume. Defendants' underwriting standards eventually grew so lax that in many

       instances its underwriters took no meaningful steps to determine whether borrowers like

       the Plaintiff could actually repay a loan for the purpose of funding higher loan volumes

       for ]everaged returns .

20, Defendants violated and ignored the law by failing to clearly and conspicuously

       disclose to Plaintiff key provisions of Plaintiffs mortgage, including but not limited to

       such details as the eventually reset interest rate, specific loan terms, and the total dollar

       amount the mortgage will cost over time .

21 . Defendants violated the law when it provided undisclosed financial incentives,

       fees, payments and other things of value to its agents, account executives, loan officers,

                                                      5




                             COMPLAINT FOR DAMAGES A N D EQUITABLE RELIEF
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   and brokers marketing and selling its product said payment and incentives constituting a

   prohibited kickback, referral fee or other things of value .

22 . Defendants' business model of making loans for quick resale rendered defendants

   indifferent to whether Plaintiff could afford the loan beyond defendants' exposure period

   to risk . This risk period was in effect only as long as it was required to sell the loan to the

   secondary market . This indifference translated into defendants maximizing loan resale

   profits through funding unfair and exceedingly risk} loan products, engaging in unfair

   underwriting practices, and conducting deceptive loan sales practices through its own

   conduct and the conduct of mortgage brokers, in order to sell an illegal and fraudulent

   loan to the unsuspecting Plaintiff.

23 . Defendants focused on creating unduly risky loans for profitability . Defendants

   received fees not only for originating loans but for reselling pre-packaged loan bundles or

   securities at a guaranteed rate of return . Due to defendants' compensation structure and

   policies, employees, brokers, loan officers, and related defendants were encouraged to

   steer Plaintiff into costly mortgages and for a larger amount in order to maximize their

   profits. To support Plaintiff's application for the unduly risky loan, defendants through its

   employees, agents, sale representatives and the mortgage brokers and appraisers inflated

   the appraised value of the applicant's home, The defendants, intentionally or recklessly,

   failed to verify or audit the information and avoided implementing reasonable measures

   that would have prevented or limited these fraudulent practices .

24 . To further increase the Defendants' revenue, Plaintiffs loan was not designated

   for long-term viability . This business model relied on perpetual increase in Plaintiffs




                         COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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       home valuation . As soon as the hous ing market flattened Plaintiff i ncurred substantial

       negative equi ty in the property .

25 .           Defendants also attempted to increase the ir profit margins and the amount of                   ~

       loans generated by creating resident ial mortgage loans ("RML") and other ]oars in the

       form of adj ustable rate mortgages ("ABMs") that Defendants sold to Plaintiff . This ARM

       was a mortgage that contained an introductory rate for the first period of the loan .       After   '

       the fixed peri od, the interest rate of the ARM would adjust, generally substantially
                                                                                                           r
       upwards, and would increase monthly payments that the defendants knew th e Plaintiff

       could not likely pay, eventually causing the Plaintiff to default and/or to have their home

       foreclosed upon .

26 .           In the instant case , Defendants offered Plaintiff only risky options , ARMS with

       interest payment only feature and balloon payment, even though they qual ified for other

       loan options that were safer and more reasonable .

27 . Defendants offered and marketed aggressively ARMS with interest payment only

       feature and balloon payment as "prime" products, which enticed consumers like Plaintiff

       by offering a teaser low rate for a short period and at the end of that period, interest rate

       that could increase dramatically that could change at a minimum every year .

28 .        To further the deceptive and unfair practices defendants knew that the types of

       ARM s with interest payment only feature and balloon payment provided to Plaintiff were

       complicated mortgage products that consumers would not understand as to its actual cost

       and risk of default inherent in such a rate structure.




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29. During the undervAq-iting and selling of ARMS with interest payment only feature

       and balloon payment to borrowers, including the Plaintiff, defendants never explained the

       inevitable payment shock and/or significant increase he could face .

30 . Moreover, if sold in the secondary market, ARMs with interest payment only

       feature and balloon payment could be sold for higher premiums versus other loans

       because the higher margins would produce a greater interest rate and therefore a larger

       income siream. To insure an abundant stream of such highly profitable loans, defendants ~

       pushed its loan officers and brokers to aggressively steer borrowers to ARMS with

       interest payment only feature and balloon payment, providing greater compensation for

       these types of loans .
                                                                                                            i
31 .           Defendants and its brokers misrepresented the true terms of the laazx, including

       but not limited to misrepresenting or obfuscating risks and dangers of ARMS with interest        i
       payment only feature and balloon payment and the payment shock and/or significant

       increase he could face, that the initial minimum payment would increase and would not

       apply for the life of the loan, and the danger of inability to refinance to a fixed reasonable

       mortgage rate .

32 . In furtherance of their deceptive and illegal practices . defendants worked with

       appraisers and other agents to inflate the value of borrowers' homes, including the

       Plaintiff -'s home . Through defendants' policies of choosing the appraiser and hiring only

       appraisers that would appraise the value of the property at whatever the defendants' loan ~

       called for, defendants could increase the property value and therefore increase the loan

       amount subsequently raising their fees in the process . By increasing the value of the loan, ,

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                                                                                                            i




   defendants would be able to resell the RML at a higher price to increase their profit

   margins .                                                                                            t

33 . The defendants knew or should have known that Plaintiffs loans would likely

   result in default and foreclosure, particularly in light of their qualification of Plaintiff's

   ability to pay based only on their ability to pay and their reliance on serial refinancing,

                                                                      .
   which in turn relied on a false assumption of perpetual home price appreciation

   Defendants' lack of underwriting standards also contributed to the inability of the

   Plaintiff to pay following the initial and deceptive teaser interest rate period by

   intentionally or neglecting to adequately review borrowers financial and employment

   documentation .

   1 . DEFENDANTS' LOANS ARE STRUCTURALLY UNFAIR, DESIGNED TO BE
   DIFFICULT TO UNDERSTAND DUE TO THEIR MULTIPLE LAYERS OF
   RISK AND DEFENDANTS TOOK NO MEANINGFUL CONS WER.ATION OF
   WHETHER PLAINTIFF COULD AFFORD TO PAY THE LOANS


34 . Defendants' deceptive and greedy business model generated a variety of

   aggressive, exceedingly risky, and unfair loan products reflecting defendants'

   indifference to whether Plaintiff could afford its loans . Specifically, defendants, through

   its employees, agents, sale representatives and the mortgage brokers it contracted with, ~

   induced Plaintiff into purchasing a deceptive residential loan product that Defendants

  knew or should have known could result in default and foreclosure .

35. As discussed further below, defendants' loans to Plaintiff included :
                                                                                                    I
       a. ARM features consisting of a lower fixed interest rate for ashort-terra period,

           followed by an increase to a higher, adj ustable rate .

                                                   9



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      b . Interest payment only and balloon payment ;

      c. ARMs with interest payment only features and balloon payment combined with a

          "stated income", "low doc" or "no dac" features, where Plaintiff needed to only

          state their income and assets, without providing any documentation to obtain a

          loan.

36 . Defendants and the mortgage brokers selling its products approved Plaintiff for

  the loans based only on the initial minimum interest rate without regard to Plaintiff's

  ability to pay over the life of the loans . These risky loans were the only option offered

  and recommended to Plaintiff even though defendants knew that a substantial and likely

  unaffordable monthly payment increase would occur at the end of the initial period.

  Defendants through its employees, agents, sale representatives and the mortgage brokers

  selling these loans to Plaintiff failed to meaningfully account for those payment

  adjustments in approving and selling loans and thereby failed to meaningfully account for

  Plaintiff's ability to repay the defendants' loans . Typically, defendants viewed these

  loans as short-term that would require serial refinancing before the loan adjusted which

  increased fees and revenue for the defendants. However, defendants through its

  employees, agents, sale representatives and the mortgage brokers failed to meaningfully

  disclose the possibility of significant interest rate increases inherent in ARMs, as well as

  the dangers aid risks of balloon payment and interest payment only features and the

  devastating impact it would have on the monthly payments and Plaintiffs ability to pay i

  this loan. If any statements were made by the defendants in connection with these costs,

  they were usually about the ease in which refinancing would be available, the increase in

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       property value . and other fraudulent claims designed to induce the borrowers like E

       Plaintiff to sign the loan.

    37 . Starting with the predictable risks inherent in ARMS with interest payment Drily

       feature and balloon payment, underwriting those loans based on and failing to

       meaningfully disclose to Plaintiff the dangerous terms and risks of these loans,

       defendants then added additional layers of risk to the loan product it approved and sold to

       borrowers like Plaintiff. These additional layers of risk, each of which is common to

       defendants' loans, include, without limitation :

           a . Approving a loan that contained features that are known to require prompt

               refinancing to maintain an affordable monthly payment and avoid defaults or

               foreclosure ;

          b . Failing to explain to Plaintiff the dangers and costs of ARMs with interest ~

               payment only feature and balloon payment ;

          c . Approving borrowers who had inadequate debt-to-income ratios that did not

               properly consider Plaintiff's ability to meet their overall level of indebtedness and

               common housing expenses in excess of 50% of monthly earnings ; and/or
                                                                                                       i
          d- Failing to accurately and meaningfully disclose that monthly loan payments do

              not include additional costs such as property taxes and insurance .

    ~8. Defendants failed to explain and/or disclose in a meaningful manner the terms and

      conditions of their loan products and instead provided borrowers like Plaintiff with

      incomplete or confusing information relative to product features, material loan terms and

      product risks, and the baaowers' obligations for property taxes and insurances . In
                                                     11



                               COMPLAI NT FOR DAMAGES AN D EQUITABLE RELI EF
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   particular, defendants encouraged borrowers like Plaintiff not to worry about most loan

   terms, especially upward adjusting ARMs because defendants would arrange a new loan

   prior to the ARM adjustment without regard to future property values, economic states,

   or borrowers' employment stability . Defendants also exacerbated the predictable harm

   inherent in the interest payment only feature and balloon payment .

3 9 . Combined, these activities caused over-inflation of the value of the property and

   subsequently the loan principal which would further increase defendants' bottom lines at

   a cost and eventual ruin to the Plaintiffs lives .

   H. DEFENDANTS ENCOURAGED MORTGAGE BROKERS UNFAIR A ND
   DECEPTIVE CONDUCT BY REWARDING BROKERS WHO SOLD RISKY
   AND INAPPROPRIATE LOAN PRODUCTS WITH LITTLE OR NO
   AOCUIYIENTATI ON ANT PROVIDED NO MEANINGFUL OVERSIGHT OF
   BROKERS CONDUCT WITH RISK LACED INCENTIVES .


40 . Defendants further exacerbated the unfair and deceptive loans described above by

   relying on third party mortgage brokers to sell its loans . Defendants induced and

   rewarded these mortgage brokers to originate unduly risky, inappropriate, and in some

   cases, fraudulent, loans while failing to monitor these brokers' sales and underwriting

   conduct in a meaningful way .

41 . Driven by its push for market share and profits, defendants did whatever it took to

   sell more loans, faster - including easing its underwriting criteria and disregarding

  minimal oversight of mortgage brokers . By easing and disregarding its underwriting

  criteria, defendants increased the risk that borrowers like Plaintiff would default and lose

  their home.


                                                  12



                         COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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42 . Defendants and their brokers also relaxed traditional underwriting standards used

   to separate acceptable from unacceptable risk in order to produce more loans for the

   secondary market. Traditionally, the depth of credit and thereby worthiness of borrowers

   played a crucial role in determining whether they could obtain a loan . However, as the

   pursuit of profits became the primary goal of defendants, the credit score itself became

   most important -- the threshold number becoming lower and lower -with disregard for

   the borrowers' future ability to pay based on previous payment habits . Further,

   defendants and their brokers began disregarding the importance of loan-to-value ratios,

   debt-to-income ratios, and other factors designed to protect borrowers and borrowers'

   ability to pay within their means for the entire lifetime of the RML .

43 . Due to the fact that riskier and higher loan amounts would produce a greater

   financial reward to defendants, they encouraged and incentivized brokers to focus on

   producing only those loans . As discussed previously, part of this structure was higher

   commissions and other incentives to mortgage brokers who provided large and risky

   loans . In return, the defendants passed on the excess compensation to the borrower b y

   way of increased origination fees, higher interest rates, and/or larger credit spreads above

   the index value on ARMs .

44. To ftuther encourage brokers and agents to bring in more RML's, defendants

   provided little to no oversight of broker's conduct . As long as brokers provided loans that

   defendants could sell to the secondary market, defendants had the financial incentive to

  continue receiving loans regardless of the documentation, or lack thereof, on the RML's .



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45 . Also, to further the deceptive scheme, defendants created ahigh-pressure sales

   environment that propelled its mortgage brokers to meet high production goals and close

   as many loans as they could without regard to Plaintiff's ability to repay . Defendants'

   high-pressure sales environment also propelled mortgage brokers to sell the risky types of

   loans, such as ARMs with interest payment only feature and balloon payment because

   mortgage brokers could easily sell them by deceptively focusing borrowers' attention on

   the low initial monthly payments or interest rates thereby not disclosing the true

   financing cost of the loan . This system of compensation aided and abetted brokers in

   breaching their fiduciary duties to borrowers by inducing borrowers like Plaintiff to

   accept unfavorable loan terms without full disclosure of the borrowers' options and also

   compensated brokers beyond the reasonable value of the brokerage services they

   rendered.

                              SPECIFIC ALLEGATIONS

46. Plaintiff originally purchased the Subject Property for $1 2,000 in December of

   1997 . Defendants induced Plaintiff into refinancing in June of 2006 . Defendant,

   Mortgage Lenders Network USA, Inc . induced Plaintiff into obtaining two mortgages

47 . Plaintiff was induced into obtaining a primary 30 year loan for $161,6U0 at

   refinancing. This loan provided a teaser introductory interest rate of 7 .72 for a fixed

   period of three years . After three years, the interest rate became variable ranging

   between 7,725% to as high as 13 .7250%, which in the long run were terms worse than

   the previous loan. The variable interest rate would be calculated by adding to the current

   index 5 .225°l0.

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48 . The terms of the secondary fifteen year loan of $40,400 provided for interest

       payment only feature with a balloon payment at the end of the life of the loan . The loan

       had a fixed high interest rate of 11 .690% and in the year 2021, approximately $ ;x,000

       balloon payment is owed .

49 . From the onset of refinancing, Plaintiff's monthly payments went from $869 per

       month to almost $1500 and adjusting upwards for the life of the new loan, as well as a

       balloon payment .

50 .           Plaintiff has a beneficial interest in the subject property which is estimated fair

       market value currently to be less than X140 ;000 .

51 .           Due to the introductory interest rate converting to ARM, balloon payment, and the

       house being significantly `upside down', i.e . debt on property is higher than market

       value, Plaintiff is unable to refinance,

52 . Defendants disregarded and ignored Plaintiff's actual ability to pay off the loans

       and steered Plaintiff to risky loans to increase their own profit .

53 . The defendants induced Plaintiff to accept defendants' risky loan products by : (1)

       failing to clearIy and conspicuously disclose haw much and how soon the interest rate

       (and, therefore, the monthly payment) would increase when the initial rate expired and

       the significant increase in monthly payments he could eventually face ; (2) failing to

       clearly and ;,;,nspicuvassIy disclose whether stated monthly payments included amounts

       due for insurance and taxes, which they generally did not; (3) failing to clearly and

       conspicuously disclose closing costs and fees ; (4) making false promises that defendants

       could refinance the loan prior to a rate increase ; (5) failing to disclose the true costs and

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   risks associated with the false promise that refinancing would be available as an exit

   strategy when the defendants' loan became unaffordable after the interest rate adjusted ;

   (6) fraudulently promising that the value of the property would increase and therefore the

   Plaintiff could easily refinance their property, (7) steering Plaintiff away from safer, fixed

   race, primp loans that he could afford and towards risky, ARMs with interest payment

   only feature and balloon payment, in order to maximize their fees and profits ; (8) false

   marketing acts that were designed to mask the true costs and risks of the loans and to hide

   the benefits of other, safer, loan products .

                                              COUNTI

                VIOLATION OF THE GEORGIA UNIFORM D ECEPTIVE
                            TRADE PRACTICES ACT
                           (AS TO ALL DEFENDANTS)


54 . Plaintiff realleges and incorporates by reference all paragraphs above, as though

   fully set forth in this cause of action.

55 . A person engages in a deceptive trade practice within the meaning of the Uniform

   Deceptive Practices Act (UDTPA) when he "causes a likelihood of confusion or of

   misunderstanding," misrepresentations are made concerning approval or certification of a

   product, the standard, quality or grade of a product is misrepresented, OR any other

   conduct exists that similarly creates a likelihood of confasion or misunderstanding .

   O .C .G .A . 10- 1-372(a)(2). 5 7 . 8 , (12) .

56 . Defendants as mortgage lenders, by engaging in illegal activity in the practice of

  originating, transferring, assigning, selling and developing home mortgage loans in the


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   -general marketplace via misrepresentation and fraud, have committed deceptive trade

       practices in the state of Georgia in violation of O .C .G .A . § I4-1-370 et seq .

5 7 . Defendants' fraudulent acts, deliberately misleading and false statements, change

       of underwritvng standards and their clearly predatory business model is undoubtedly

       likely to lead to confusion and Fnisunderstanding . As a result of Defendants' acts, there is

       likelihood of confusion and misunderstanding about the legitimacy of the RML sold by

       the Defendants, the actual terms and conditions of the RML and their application to

       Plaintiff, and the dangerous and unnecessary risks of financial and emotional hardship

       inherent in the RML that are unknowingly burdened by the consumer .

58 . Defendants engaged in such deceptive trade practices for their wrongful profit,

       intentionally preying on the Plaintiff's and other consumers' limited access to

       information, understanding and capacity regarding the product the Defendants designed,

       manufactured, and sold - the RIYM .

59 .           Such practices included falsely promising that Plaintiff may refinance for an

       optimal fixed interest at a time of their cboasing, falsely assuring the value o f the

       property, and representing that the RML is approved based on Plaintiff's and the home's

       actual financial conditions even though the true primary standard was maximum resale

       value for the secondary market through exploitation of the Plaintiff .

60 .           Plaintiff has been caused irreparable harm and great Financial hardship due to

       Defendants' deceptive trade practices .

               )X'HEREFORE, Plaintiff prays for interlocutory and permanent injunctive relief as

       set forth below.

                                                      17




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                                                     COUNT 11

                  VIOLATION OF THE GEORGIA RESIBLNTL4L MORTGAGE ACT
                              (AS TO ALL DEFENDANTS)


51 . The Georgia Residential Mortgage Act (GRAMA) governs mortgage lenders and

       the manner in which they transact with borrowers by explicitly prohibiting acts. Yet

       these are the very acts that were committed by the Defendants .

62. Defendants violated O .C .G.A . § 7-1-1013 (1) by misrepresenting the material

       facts, making false statements and promises, and submitting false statements and/or

       documents that influenced, persuaded, and induced the Plaintiff in their application for

       and execution of a mortgage loan, and, through agents or otherwise, pursued a course of

       misrepresentation to the Plaintiff by use of fraudulent and/or unauthorized documents and

       other means .

63 .           Defendants violated O .C .G .A. § 7-1-1013(2) by misrepresenting and concealing

       and causing another to misrepresent or conceal material factors, terms and conditions of

       the mortgage transaction to which Defendants, mortgage lenders or brokers, were a party,

       pertinent to the Plaintiff or in the Plaintiff's application for a mortgage loan .

64 . Defendants violated O .C .G_A . § 7-1-1013(6) by engaging in transactions,

       practices, and course of business which were not in good faith or fair dealing, and which

       operated as a fraud upon the Plaintiff, in connection with the attempted and actual

       making of, purchase of, transfer of, and sale of Plaintiff's mortgage loan .

65 . Defendants violated O .C.G .A . § 1-1-] 013(7) by engaging in fraudulent home

       mortgage tanderwriting practices .

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66 . Defendants violated O .C .G .A . § 7-1-101 (9) by making, directly or indirectly, a

       residential mortgage loan with the intent to foreclose on the borrower's property, The

       presumption per the GFtMA statue is met in that at the time loan was made, there

       was : (a) a lack of substantial benefit to the borrower, (b) lack of probability of full

       payment of the loan by the borrower; and (c) there exists a significant proportion of

       similar]}' foreclosed loans by the Defendants per their unfair, fraudulent and deceptive

       acts practices, and systems .

67 . Defendants violated O .C .G .A . § 7-1-10133(10)collecting a mortgage debt by

       extortionate means, in that Defendants do not have the right to collect on the illegal loan,

       but have threatened negative credit reporting ; declaration of default and foreclosure in an

       extortionist attempt to collect .

68, Through their misrepresentations, concealment of material facts, fraudulent

       actions, and bad faith aDd predatory business practices set up to exploit the Plaintiff for

       the Defendants' maximum profit, Defendants acted with wanton disregard as to the

       benefit or harm to the Plaintiff in the making and servicing of the loan rampantly violated

       explicit statutory restrictions per the GRMA .

69 .           Furthermore, Defendants' actions were intentional, oppressive, and with fraud or

       malice in conscious disregard of plaintiffs Consumer protection rights, thereby justifying

       the award of punitive damages in an amount to be proven at trial .

7 0 . Defendants' fraud has caused Plaintiff damage in an amount to be determined at

       trial . At a minimum, it includes the irreparable harm to Plaintiffs credit score and the

       amount overpaid by Plaintiff on the fraudulently obtained RML on the Subject Property .

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               'UtrHEREF4RE, Plaintiff prays for judgment as set forth below .

                                                 COUNT III

                               BREA CH OF MPUTED DUIX PER
                           GEORGIA FAIIt BUSINESS PRACTICES ACT
                                      BAS TO ALL DEFENDANTS


71 . Under the Georgia Fair Business Practices Act, Defendants owe a duty to the

       Plaintiff, as businesses availing themselves of the marketplace, to act with due care,

       diligence and good faith in developing, originating, marketing and selling their loan

       products .

72 .           Defendants breached their duty by deliberately leading Plaintiff into an

       unnecessarily costly loan, failing to properly assess the suitability of the loan as to the

       Plaintiff's ability to pay, artificially inflating the property value, failing to pmptrly

       inform and explain actual terms, conditions, costs and risks of the loan, and maintaining a

       system of practice that rather than controlled, encouraged wanton and reckless conduct

       towards the Plaintiff in regards to the Loan .

73. As direct a result of the Defendants' breach, Plaintiff has been greatly harmed-

74. Defendants' breach has caused Plaintiff damage in an amount to be determined at

   trial . At a minimum, it includes the irreparable harm to Plaintiffs credit score and the

       amount overpaid by Plaintiff on the fraudulently obtained RML on the Subject Property .

               WHEREFORE, Plaintiff prays for judgment as set forth below,

                                                COUNT IV

                                              FRAUD
                                     (AS TO ALL DEFENDANTS)

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75 . Plaintiff realleges and incorporates by reference all paragraphs above, as though

   fuLiy set forth in this cause of action .

76. Defendants represented to Plaintiff that all the statements made to them in the

   origination and underwriting of the RML were true and that the value of the Subject '

   Property which supported the loan was also true, while concealing Defendants' scheme

   of conspiracy to exploit Plaintiff for maximizing profits on the secondary market .

   Defendants' actions and representations were false and Defendants knee they were false

   and made such representations without regard to their truth .

77 . When Defendants made their false representations relating to the terms and

   conditions of the loan, the basis for the offering of such terms and conditions, and of the

   value of the property, Defendants made them with the intent that Plaintiff would rely on

   them and sign the loan documents and secure the Subject Property for said loan .

78 . Defendants represented themselves as loan experts and represented their

   employees or third parties such as the appraiser as experts in the field . Plaintiff relied on

   Defendants' representations and said reliance was reasonable due to Defendants'

   advertisement, assertions, licensing and experience in the mortgage industry .

79_ Plaintiff i n turn did not have equal opportunity to discover the truth, and

  reasonably relied on Defendants' m isrepresentations to Plaintiff's detriment. Defendants

   fraudulently induced Plaintiff into the loan, and wrongfully extracted payments pursuant

  to a fraudulent note and security deed .



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80. k'urtbermflre, Defendants' actions were intentional . oppressive, and with fraud or

       malice in conscious disregard of Plaintiff--s consumer protection rights, thereby justifying

       the award of punitive damages in an amount to be proven at trial .

6 I . Defendants' fraud has caused Plaintiff damage in an amount to be determined at

       trial . At a minimum, it includes the i rreparable harm to Plaintiffs credit score and the

       amount overpaid by Plaintiff on the fraudulently obtained RML on the Subject Propert3, .

                 WHEREFORE, Plaintiff prays for judgment as set forth below.
                                                             -                                        i
                                             COUNT V

                                     FRAUD IN THE IlYAUCEME N T
                                       AS TO A LL DEFENDANTS


82 .             Plaintiff realleges and incorporates by reference all paragraphs above, as though

       fully set forth in this cause of action .

83 .             In order to induce the Plaintiff to agree to risky ARMS with interest only payment

       feature and balloon payment, the defendants made a series of fraudulent promises . These

       promises include but are not limited to statements about the increase in value of the

       property, the ease that refinancing would occur, the glossing over of actual monthly

       payments and the real costs and risks of the interest rate, and the assurance that the value

       of the property was fair and legitimate .

84 . Plaintiff reasonably relied on defendants' representations and promises due to the

       fact that they were Lenders and mortgage brokers who were presented as experts in the

       field .



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85 . Furthermore, defendants' action were intentional, oppressive, and with fraud or

   malice in conscious disregard of Plaintiff's consumer protection rights thereby justifying

   the award of punitive damages in an amount to be proven at trial .

86. Defendants' fraud has caused Plaintiff damage, in an amount to be determined at

   trial . At a minimum, it includes irreparable harm to Plaintiffs credit score and the

   amount overpaid to defendants on the fraudulently obtained RMLs on the Subject

   Property.

   WHEREFORE, Plaintiff prays for judgment as set forth below ;

                                                COUNT YI

                                               CONVERSION
                                   BAS TO ALL DEFEnANTS)


87. Plaintiffreafleges and incorporates by reference all paragraphs above, as though

   fully set forth in this cause of action .

88 . As mentioned previously, the defendants induced the Plaintiff to agree to the risky

   ARMS, which was exacerbated by the interest only payments and balloon payment,

   through fraud, deceit, and unfair and deceptive business practices in violation of Georgia

   state law . Further, the defendants set an unjustly high monthly payment by artificially

  inflating the value of the property to fraudulently justify a larger mortgage .

89. By raising the monthly payment rate, the defendants extracted from the Plaintiff a

  higher amount than the Plaintiff legitimately should have paid . Further, as required by

  defendants' own policies, any payments made in excess of the amount owed should b e

  applied directly to the principle of the account . The defendants violated Georgia state law
                                                   23




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       and their own policies by applying the extra payments to interest that were not

       legitimately owed by the Plaintiff . The defendants improperly converted said funds of

       Plaintiff for their own use and benefit, thereby making more fraudulent, and risky loans

       to unsuspecting borrowers .

90 .           The monies converted were specific as to source and trial . Defendants extracted

       specific mortgage payments from the Plaintiff s bank account for deposit into a debt

       account labeled as a Residential Mortgage Loan for the Subject Property pursuant to an

       illegal loan, Defendants have committed unlawful conversion of Plaintiffs personal

       funds for their own unlawful use .

91 . Furthermore, defendants' actions were intentional, oppressive, and with fraud or

       malice in conscious disregard of Plaintiff's legal rights as they committed conversion

       justifying the award of punitive damages in an amount to be proven at trial_

92 . Due to the defendants' conversion, Plaintiff has suffered severe financial

       hardship . Plaintiff has been damaged in the amount to be proven at trial .

       WHEREFORE, Plaintiff prays far judgment as set forth below .


                                                   COUNT VII

                                             QUIET TITLE
                                       (AS TO ALL DEFENDANTS)


93 . Plaintiff realleges and incorporates by reference all paragraphs above, as though

       fully set forth in this cause of action .




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94 . At all times herein, defendants committed acts of misrepresentations and fraud as

       to the terms of the loan, mortgage, and value of the property with the intent to exert

       undue influence .

95 . Plaintiff were under unfair persuasion amounting to undue influence because

       Defendants positioned themselves in the market where the Plaintiff was justified in

       assuming that the defendants would not act in a manner inconsistent with Plaintiffs

       welfare and best interests .

9 6. At all time herein, defendants gained unfair persuasion and undue influence by

       improper means including but not limited to misrepresentations, undue flatter~7, and

       fraud .

97 . Defendants by fraud received an iniquitous deed to secure debt to the property for

       a loan that Plaintiff should not have given or been allowed to take . This loan would not

       have taken place but for Defendants' wrongful conduct,

98 ,             Furthermore, defendants` action were intentional, oppressive ; and with fraud or

       malice in conscious disregard of Plaintiff's rights thereby justifying the award of punitive

       damages in the amount to be proven at trial

99 . Defendants have created an illegal cloud on title . Plaintiff has suffered severe

       financial hardship as a result . Plaintiff requests that the court invalidate the deed of trust

       on the property .

       WHEREFORE, Plaintiff prays for judgment as set forth below;

                                                COUNT VIII

                                                   LABEL
                                                      25



                              COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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                                        BAS TO ALL DEFENDANTS)


100 . Plaintiff realleges Z--and incorporates by reference all paragraphs above, as though

        fully set forth in this cause of action .

101 .           In an attempt to coerce payment out of the Plaintiff in regards to the fraudulently

        obtained RMLs and the defendants threatened and/or actually reported to credit agencies

        and other third parties that Plaintiff were in default on the RMLs and for payments that

        were incorrectly assessed .

102 . Defendants knowingly made these statements with full knowledge of defendants'

        wrongful and fraudulent conduct and the defendants were fully aware that the RMLs was

        obtained illicitly . Even with the knowledge of their wrongful acts and illegally obtained

        RMLs, the defendants still made false statements about the amount that the Plaintiff owed

        and did not pay to third parties in a malicious attempt to defame Plaintiffs reputation and

        lower the credit score .

103 .           Defendants again exploited Plaintifrs vulnerable position as a consumer, subject

        to whatever statements the Defendants chose to publish to third parties because

        Defendants are licensed mortgage lenders of a large scale . Plaintiff in turn continues to

        suffer great financial losses and damages as a result of this harm to her reputation .

104 . Furthermore, defendants' actions were intentional, oppressive, and with fraud or

        malice in conscious disregard of Plaintiffs legal rights thereby justifying the award of

        punitive damages in the amount to be proven at trial.




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105,            Due to the defendants' libel; Plaintiff has suffered severe financial hazdship .

        Plaintiff has been damaged in the amount to be proven at trial .

        WHEREFORE, Plaintiff prays for judgment as set forth below .

                                                    COUNT IX

                                            M'n . CONSPIRACY
                                         fAS TO ALL DEFENDANTS


106,            Plaintiff realleges and incorporates by reference all paragraphs above, as though

        fully set forth in this cause of acti on.

107 . Defendants, and each of them, agreed to form and operate a business relationship

        wherein the originator of the loan would process the loan application in a manner that

        each Defendant knew or should have known was malicious, wrongfiii, and unlawful for

        the reasons stated in this caznplaint . The business relationship between the parties gave

        the originator of the loan the right to assign, sell or otherwise : transfer said unlawfully

        originated loan to its fellow defendants, which each defendant would, in turn, acquire, the

        right to sell, assign or otherwise transfer for a profit,

108 .           As a result of this conduct, defendants, and each of them, damaged Plaintiff in an

        amount to be proven at trial .

        WH.ERFORE, Plainti ff prays for judgment as set forth below;


                                                    COUN'T' X

        RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT (R _iC01
                         CAS TO ALL DEFENDAN' 'S1           - - -



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109 .           Plaintiff realleges and incorporates by reference ail paragraphs above, as though

        fully set forth in this cause of action .

110 .           Defendants violated RICO pursuant to O .C.G .A. §1b-14-1 et seg. Each time

        PlaizatzfFs fraudulent loan was refinanced, assigned and transferred ; each time Plaintiff

        loan was used as means to extract inflated payments from Plaintiff for the Defendants'

        benaflt ; each time the profits generated from Plaintiffs loan was used to perpetuate

        father acts of fraud by issuing and selling more fraudulent loans throughout the state,

        Defendants committed multiple predicate acts of fraud . Moreover, in order to perpetuate

        these multiple frauds, Defendants used the mail in furtherance of their scheme .

111 . Due to the Defendants' RICO violations, Plaintiff has suffered severe financial

        hardship . Plaintiff has been damaged in the amount to be proven at trial . Second,

        Plaintiff requests reasonable attorney fees and costs .

        WHEREFORE, Plaintiff prays for judgment as set forth below .


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                    PETITION FOR INTERLOCUTORY XNJUNC TM REL rEF
                                (AS TO ALL DEFENDANTS)

112 . Plaintiff realleges and incorporates by reference all paragraphs above, as though

    fully set forth i n this cause, of action .

113 . Defendants are licensed institutional lending experts with the privilege of

    engaging the general marketplace for the sale of an exclusive service . And they are given

    this privilege on the condition that they are held to a higher standard of regulatory

    compliance, fair practice, duty, conscience, expertise and competence, among others .

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        Yet the Defendants in this case have exploited their public privilege and engaged in

        systematic misconduct, reaping profits not only from the Plaintiffs home mortgage loan,

        but from a larger scheme of profiteering off of illegal mortgages spanning over more than

        a decade, throughout the country . Plaintiffs case as alleged and to be proven at trial,

        leads to not only preclusion of strict enforcement of the security deed, but also will likely

        result in permanent injunction and damages both actual and punitive against the

        Defendants .

114 .           The Plaintiff has made multiple clear and convincing cause of actions in which

        the Plaintiff is likely to succeed . Those arguments, including arguments for fraud, fraud

        in the inducement, deceptive business practices, and others, are factually supported and

        are likely to lead to a decision in favor of Plaintiff . On this ground alone, the court may

        grant the temporary rest-4ining order as permitted under O .C .G .A. §.§9- 5 -1 and .9-] 1-65 .

115 .           Defendants threatened wrongful conduct to foreclose and sell the property to a

        third party, unless and until enjoined and restrained by order of this court, will cause

        great and irreparable injury to Plaintiff by the foreclosure and forced sale of the property .

        The Subject Property is not just property but home to the plaintiff, the wrongful loss of

        which is unique and cannot be adequately remediecd at law . Further, any foreclosure and

        forced sale of the property will reduce the value of the property and j eopardize Plaintiffs

        interest in the Property . On this ground alone, the court may grant the temporary

        restraining order as permitted under 0.C QA . §§ 9-5-1 and 9-11-65 .

116 . Plaintiff has no adequate remedy at law for the injuries that are threatened as a

        foreclosure and forced sale would wrongfully deprive Plaintiff of their property rights,
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       create extensive disruption and harm in every aspect of Plaintiff's life, and reduce

       Plaintiff s equity interest in the property . On this ground alone, the court may grant the

       temporary restraining order as permitted under O.C.G .A. §§9-5-1 and 9-21-b 5 .

   117 . As a proximate result of defendants' wrongful conduct, Plaintiff equity iriterest

       and potential sale has been totally lost Plaintiff will be further damaged if defendants are

       allowed to proceed with the sale of the foreclosed property . The full amount of this

       damage is not now known to Plaintiff, and Plaintiff will amend this complaint to state this

       amount when it becomes known to them or an proof of the damages .

   118 . An interlocutory injunction enjoining Defendants from foreclosure upon the

       Subject Property maintains the status qua, prevents perpetuation of irreparable harm and

       further tortuous acts, serves the principals of3ustice and equity, and is strongly supported

       as to the merits under the facts and legal arguments outlined herein .

       WBEREFORE, Plaintiff prays for interlocutory injunctive relief to enjoin Defendants

from foreclosing on the Subject Property .

AS TO ALL CAUSES OF ACTION PLAINTIFF PRAY FOR JUDGMENT AS

FOLLOWS:

      1 . Pursuant to O .C.G .A. § 10-1-372, et. seq., that all defendants, their employees,

           agents, representatives, successors, assigns, and all persons who act in concert with

           them be permanently enjoined from making any untrue or misleading statements or

           falsely reporting negative credit to reporting agencies.

     2 . Pursuant to O .C .G .A . § i0-1-372, et. seq ., that the Court make such orders or

           judgments as may be necessary to prevent the use or employment by any defendant of

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         any practices which violate, or which may be necessary to restore to any person

         interest any money or property, real or personal, which may have been acquired by

         means of any such practices

   3     Pursuant to O .C .G .A. § 10-1372, et. seq_, that this court make such order or

         judgments as may be necessary to prevent the use of employment by any defendant of

         any practice which constitutes a deceptive trade practice or as may be necessary to

         restore to any person in interest any money or property, real or persona ; which may

         have been acquired by means of such unlawful actions .

   4.    Damages sustained by the Plaintiff due to defendants wrongful acts in excess of the

         jurisdictional limits in an amount to be proven at trial ;

   5 . For interest on the sum at the rate of 10% per annum ;

   6 . For Rescission ;

   7.    For punitive damages against Defendants due to their intentional and wrongful acts ;

   8     That Plaintiff recover reasonable attorneys fees and for to recover its cost of suit ;

   9.    For such other relief that the Court deems just, proper , and equ itable .



DATED:    14R           2009                                 Respectfully S ubmitted,
           /Y


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                                                                  e K.im, esq.
                                                             Bay #f 141924
                                                             Geerdes and Kim, LLC
                                                             34$3 Satell i te Blvd .
                                                             Duluth, Georgia 30096
                                                             4 04 -257-1777

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                                              404-257-1050 (fax)
                                              ATTORNEY FOR PLAINTIFF




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                             IN THE SUPERIOR COURT OF GWINNETT COUNTY

                                                STATE OF GEORGIA

                   Chong Ae Han
                                                               MT, ACTION
                                                               rrtr M13 Ex
                                                                                                  4 3 Z 0.

                                          FLAP=

                          vs .

 Mortgage Lenders Network USA . Inc . . GMAC

   . LLC ; America's Servicing Company ; Wells

    Fu o Bank . N .A : Mart aae Electronic
               S7LJS+-tjnSj DEFENDANT
 I Km-pd"la oop- 5 I -aD i Ylc-t L .3 ti /t-
                                             SUMMONS

TO THE ABOVE NAMED DEFENDANT :

        You are hereby summoned and required to file with the Clerk of Said Court and serve upon the Plaintiff s
a.ttdrney, whose name and address is :
 IRENE KIM, ESQ .
 Bar P 141924
 Geerdes and Kim, LLC
 3483 Satellite Blvd .
 Suite 221 South
 Duluth, Georgia 30096
404-251-1777
an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon
yon, exclusive of the day of service . If you fail to do so, judgnneut by default will be taken against you for the relief
demanded in the complaint

This                day                                  .20

                                                        Tom Lawler
                                                        Clerk of Superior Court


                                        By.
                                                        Dep Clerk


: Attach addendum sheet for additional parties if nccdcd, make notation on this sheet if addendum shed is used
Instructions

COC SC-I Revised 12-9 9
